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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SAMANTHA LEVEY, individually and on )
behalf of all others similarly situated, )
                                         )
                Plaintiff,               )
                                         )
        v.                               )           Case No.: 1:20-cv-2215
                                         )
CONCESIONARIA VUELA COMPAÑÍA )                       JURY TRIAL DEMANDED
DE AVIACIÓN, S.A.P.I. DE C.V., and       )
CONTROLADORA VUELA COMPAÑÍA )
DE AVIACIÓN, S.A.B. DE C.V., foreign )
corporations d/b/a “VOLARIS,”            )
                                         )
                Defendants.              )

                                CLASS ACTION COMPLAINT

       Plaintiff, Samantha Levey (“Levey”), individually and on behalf of all others similarly

situated, through her undersigned counsel, alleges for her Class Action Complaint against

Defendants, Concesionaria Vuela Compañía de Aviación, S.A.P.I. de C.V. (Volaris Aviation

Operating Company), and Controladora Vuela Compañía de Aviación, S.A.B. de C.V. (Volaris

Aviation Holding Company), foreign corporations d/b/a Volaris (collectively, “Volaris”), based

upon personal knowledge as to herself and her own acts and experiences, and, as to all other

matters, upon information and belief, including the investigation conducted by her counsel as

follows:

                                  NATURE OF THE ACTION

       1.      This is a class action seeking relief for Plaintiff and others who booked flights on

Volaris for travel from the United States to Mexico and whose flights were canceled by Volaris

during the COVID-19 (novel coronavirus) pandemic without refunding the amounts these

passengers paid for airfare and/or requiring them to pay a penalty to rebook their travel.
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        2.        As alleged further herein, Volaris canceled many of its flights to Mexico from the

United States in the wake of the COVID-19 (Novel Coronavirus) pandemic. Although the United

States temporarily closed its border with Mexico due to the pandemic, this restriction did not apply

to air travel. When Volaris decided to cancel its flights to Mexico, without notice to its booked

passengers, it offered no refunds and continues to deny the refunds to passengers who seek them,

despite its contract of carriage and DOT rules requiring refunds and/or required these passenger to

pay a penalty to rebook their travel.

        3.        Volaris’ conduct, described in further detail herein, gives rise Plaintiff’s and the

class’ claims for breach of contract (Count I), unjust enrichment (Count II), unconscionability

(Count III) and violation of the Illinois Consumer Fraud and Deceptive Trade Practices Act, 815

ILCS 505/1 et seq., alleged herein.

                                   JURISDICTION AND VENUE

        4.        This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(d)(2), as this is a

class action in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive

of interest and costs, and is a class action in which members of the class, which number in excess

of 100, are citizens of states different from Defendant.

        5.        Jurisdiction over Defendant is proper under 735 ILCS 5/2-209(b)(4) (corporation

doing business within this State), and Section 2-209(c) (any other basis now or hereafter permitted

by the Illinois Constitution and the Constitution of the United States). 735 ILCS 5/2-209(b)(4),

and (c).

        6.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) insofar as this is

the judicial district in which Defendant is subject to the Court’s personal jurisdiction with respect

to this action.




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                                            PARTIES

       7.      Plaintiff, Samantha Levey, is a natural person and domiciliary Chicago, Cook

County, Illinois. Plaintiff is a member of the putative class defined herein.

       8.      Defendant Concesionaria Vuela Compañía de Aviación, S.A.P.I. de C.V. (Volaris

Aviation Operating Company), is a foreign corporation headquartered in Santa Fe, Mexico, that

systematically and continuously does business in Illinois and with Illinois residents.

       9.      Defendant Controladora Vuela Compañía de Aviación, S.A.B. de C.V. (Volaris

Aviation Holding Company), is also a foreign corporation headquartered in Santa Fe, Mexico, that

systematically and continuously does business in Illinois and with Illinois residents.

                                        BACKGROUND

       10.     Defendants, collectively referred to by their trade name herein as “Volaris,” are an

ultra-low-cost air carrier founded in 2005 whose stock is publicly traded on the New York Stock

Exchange under the symbol “VLRS.” Volaris’ international growth strategy is focused on targeting

markets in the United States with large Mexican and Mexican-American communities in order to

stimulate demand from visiting friends and relative and leisure traffic in those markets. As such,

Volaris serves 66 cities throughout Mexico, the United States and Central America and operate up

to 394 daily flights to 40 cities in Mexico, including highly demanded destinations such as Cancún,

Guadalajara, Mexico City, Monterrey and Tijuana, and 26 cities in the United States and Central

America, including: Albuquerque, Charlotte, Chicago, Dallas, Denver, Fresno, Houston, Las

Vegas, Los Angeles, Miami, Milwaukee, New York, Oakland, Ontario, Orlando, Phoenix,

Portland, Reno, Sacramento, San Antonio, San Jose (California), Seattle, Washington D.C. San

Jose (Costa Rica), Guatemala City (Guatemala) and San Salvador (El Salvador).




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         11.     Plaintiff and others like her purchased airfare on Volaris for travel to Mexico during

the late winter and early spring when travel from the United States to warm destinations in Mexico

is at its peak and fares are most expensive.

         12.     At all times material hereto, Volaris’ terms of carriage for travel originating in the

United States provided that, in the event of cancellation, “alternate transportation or compensation

will be provided to Passengers in accordance with rules issued by the U.S. Department of

Transportation       (DOT).”      See      Volaris      International    Contract      of    Carriage,

https://cms.volaris.com/globalassets/pdfs/eng/contractofcarriageint.pdf (last visited April 8,

2020).

         13.     On April 3, 2020, the DOT issued an enforcement notice to Volaris and other

airlines operating in the United States reiterating the airlines’ “longstanding obligation to provide

a prompt refund to a ticketed passenger when the carrier cancels the passenger’s flight or makes a

significant change in the flight schedule and the passenger chooses not to accept the alternative

offered by the carrier.” See Enforcement Notice Regarding Refunds by Carriers Given the

Unprecedented Impact of the Covid-19 Public Health Emergency on Air Travel, at 1,

https://www.transportation.gov/sites/dot.gov/files/2020-

04/Enforcement%20Notice%20Final%20April%203%202020_0.pdf (last visited April 8, 2020).

         14.     Citing earlier directives, the DOT stated:

                 “We reject . . . assertions that carriers are not required to refund a
                 passenger's fare when a flight is cancelled if the carrier can
                 accommodate the passenger with other transportation options after
                 the cancellation. We find it to be manifestly unfair for a carrier to
                 fail to provide the transportation contracted for and then to refuse to
                 provide a refund if the passenger finds the offered rerouting
                 unacceptable (e.g., greatly delayed or otherwise inconvenient) and
                 he or she no longer wishes to travel.”




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Id. n.1 (quoting Enhancing Airline Passenger Protections, 76 Fed. Reg. 23110-01, at 23129 (Apr.

25, 2011).

       15.     Flight disruptions that are outside a carrier’s control, such as the current COVID-

19 pandemic do not relieve airlines like Volaris of their obligation to provide refunds to passengers

whose flights have been canceled, the DOT said:

               The longstanding obligation of carriers to provide refunds for flights
               that carriers cancel or significantly delay does not cease when the
               flight disruptions are outside of the carrier’s control (e.g., a result of
               government restrictions). The focus is not on whether the flight
               disruptions are within or outside the carrier’s control, but rather on
               the fact that the cancellation is through no fault of the passenger.

Id. at 1-2 (emphasis added) (footnotes omitted).

       16.     Consistent with the above, the DOT further informed airlines like Volaris that an

“act of God,” such as the current pandemic, does not excuse them from issuing refunds:

               “[A]pplying . . . nonrefundability/penalty provisions in situations in
               which the change of flight time or travel date has been necessitated
               by carrier action or ‘an act of god’ [sic], e.g., where the carrier
               cancels a flight for weather or mechanical reasons . . . is grossly
               unfair and it violates 49 U.S.C. 41712, as would any contract of
               carriage or tariff provision mandating such a result . . . .”

Id. n.4 (quoting 76 Fed. Reg. at 23129) (citation omitted).

       17.     At no time relevant hereto has there been a been on air travel to or from Mexico.

Rather, the United States and Mexico entered a joint initiative on March 21, 2020, restricting non-

essential ground travel along the U.S.-Mexico land border to prevent the spread of the COVID-19

virus. See Joint Statement on US-Mexico Joint Initiative to Combat the COVID-19 Pandemic,

https://mx.usembassy.gov/message-for-u-s-citizens-u-s-embassy-mexico-city/              (“This action

does not apply to air travel.”) (emphasis in original) (last visited April 8, 2020).




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          18.   Notwithstanding the foregoing, Volaris has in recent weeks canceled its flights

from the United States to Mexico, without providing refunds to its passengers and/or requiring

them to pay a penalty to rebook their travel.

          19.   Moreover, Volaris has offered flight credits in lieu of refunds without informing

Plaintiff and the Class of their right to a full refund and/or charged them a penalty to rebook their

travel.

                              FACTS RELATING TO PLAINTIFF

          20.   On or about June 21, 2019, Plaintiff purchased roundtrip airfare from Chicago

Midway International Airport (MDW) in Chicago, Illinois, to Bajío International Airport (BJX) in

Silao, Guanajuato, Mexico. The total airfare, including applicable taxes, was $636.57.

          21.   Plaintiff’s date of departure was March 20, 2020 (Flight 943), and her return date

was March 24, 2020 (Flight 942).

          22.   On or about March 19, 2020, Volaris canceled the above flights without notice or

explanation.

          23.   After several unsuccessful attempts to contact Volaris by telephone, email and

social media, Volaris finally contacted Plaintiff on or about March 23, 2020. During this telephone

call, Volaris refused to provide Plaintiff with a refund of the $636.57 she paid for her flight.

          24.   Despite Plaintiff’s request of a refund, Volaris offered only to provide a credit

toward future travel, in the next 30 days, less applicable change fees. Plaintiff, who could not travel

at a later date, rejected Volaris’ offer and again demanded a refund, which it refused.

          25.   Thereafter, Volaris issued Plaintiff and credit for $404.45 ($232.12 less than the

amount she paid) with the condition that she use the credit for another Volaris flight for travel

during the period April 6, 2020, and July 5, 2020, or risk losing her total investment.




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                               CLASS ACTION ALLEGATIONS

       26.     This action satisfies the prerequisites for maintenance as a class action provided in

Fed. R. Civ. P. 23(a), as set forth below.

       27.     Class Definition. Plaintiff brings this action individually and on behalf of the

following class of similarly situated persons (the “Class”), of which Plaintiff is a member:

               All natural persons domiciled in the United States or its territories
               who purchased airfare on Volaris airlines for travel between March
               20, 2020, and April 20, 2020 (“Class Period”), whose flights were
               canceled by Volaris and who were not provided a refund of paid fare
               and/or were required to pay a penalty to rebook their travel.
Excluded from the Class is Defendant and any of its respective officers, directors or employees,

the presiding judge, Class counsel and members of their immediate families, and persons or entities

who timely and properly exclude themselves from the Class.

       28.     Illinois Sub-Class. In the alternative, Plaintiff brings this action individually and

on behalf of a sub-class of Illinois consumers only who are members of the above-defined class.

       29.     Numerosity. The members of the Class are so numerous and geographically

dispersed throughout the United States such that joinder of all members is impracticable. Plaintiff

believes that there are thousands of persons in the Class. The exact number and identity of Class

members is unknown to Plaintiff at this time and can only be ascertained from information and

records in the possession, custody or control of Defendant.

       30.     Commonality. There are questions of law or fact common to the Class including,

inter alia, the following:

               a.      whether Volaris’ cancellation of the flights of Plaintiff and the Class without

refund constitutes a breach of its contract of carriage;




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                b.      whether Plaintiff and members of the Class conferred a benefit on

Defendant in the form of airfare paid and whether it would be unjust for Defendant to retain such

benefits under the circumstances alleged herein;

                c.      whether Volaris’ contract of carriage permits cancellation of the flights of

Plaintiff and the Class without refund and, if so, whether such terms are unconscionable;

                d.      whether Defendant misrepresented and/or omitted material facts regarding

its obligation to provide refunds to Plaintiff and the Illinois Subclass when it canceled their flights;

                e.      whether Defendant intended that Plaintiff and the Illinois Subclass rely on

the foregoing misrepresentations and omissions;

                f.      whether Defendant’s cancellation of Plaintiff’s and the Class’ flights was

for reasons outside Defendant’s control or through no fault of Plaintiff and the Class;

                g.      whether the current COVID-19 (novel coronavirus) pandemic is an act of

God entitling Plaintiff and the Class to a refund of their airfare and/or penalties paid;

                h.      whether Plaintiff and the members of the Class are entitled to their damages,

including treble damages, and the appropriate measure thereof; and

                i.      whether equitable or injunctive relief is appropriate.

        31.     Typicality. The claims of Plaintiff are typical of the claims of the Class alleged

herein. Plaintiff and other members of the Class are all persons who purchased the Hitch and relied

on the same, identical false, written statement of affirmative fact.

        32.     Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.

Plaintiff has retained counsel who are competent and experienced in the prosecution of complex

and class action litigation. The interests of Plaintiff are aligned with, and not antagonistic to, those

of the Class.




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       33.     Fed. R. Civ. P. 23(b)(2) Requirements. The prerequisites to maintaining a class

action for injunctive and equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) exist, as Defendant

has acted or has refused to act on grounds generally applicable to the Class thereby making

appropriate final injunctive and equitable relief with respect to the Class as a whole.

       34.     Defendant’s actions are generally applicable to the Class as a whole, and Plaintiff

seeks, inter alia, equitable remedies with respect to the Class as a whole.

       35.     Defendant’s uniform common course of conduct alleged herein makes declaratory

relief with respect to the Class as a whole appropriate.

       36.     Fed. R. Civ. P. 23(b)(3) Requirements. This case satisfies the prerequisites of Fed.

R. Civ. P. 23(b)(3). The common questions of law and fact enumerated above predominate over

questions affecting only individual members of the Class, and a class action is the superior method

for fair and efficient adjudication of the controversy.

       37.     The likelihood that individual members of the Class will prosecute separate actions

is remote due to the extensive time and considerable expense necessary to conduct such litigation,

especially in view of the relatively modest amount of monetary, injunctive and equitable relief at

issue for individual Class members.

       38.     This action will be prosecuted in a fashion to ensure the Court’s able management

of this case as a class action on behalf of the Class.

                                              COUNT I

                                       (Breach of Contract)

       39.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 38, supra, as

though fully stated herein.




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         40.    The airline tickets purchased by Plaintiff and the Class were subject to the terms

and conditions of Volaris’ contract of carriage, which provided in relevant part that, in the event a

flight is cancelled, “alternate transportation or compensation will be provided to Passengers in

accordance with rules issued by the U.S. Department of Transportation (DOT).” See Volaris

International                       Contract                        of                       Carriage,

https://cms.volaris.com/globalassets/pdfs/eng/contractofcarriageint.pdf (last visited April 8,

2020).

         41.    As set forth in Paragraphs 13 through 16, supra, the DOT is adamant that Volaris

must refund the airfare and/or penalties paid by Plaintiff and the Class under the circumstances

alleged herein; specifically, an action of the carrier or an act of God that results in cancellation.

         42.    Notwithstanding the foregoing promises and obligations of Volaris, Plaintiff and

the Class have not received their refunds and/or were required to pay penalties despite having

performed all of their duties on the contracts of carriage.

         43.    As a direct result of the foregoing breach, Plaintiff and the Class have been

damaged in an amount to be determined at trial.

                                              COUNT II

                                       (Unjust Enrichment)

         44.    Plaintiff repeats and realleges the allegations of Paragraphs 1 through 38, supra, as

though fully stated herein. This Count is pled in the alternative to Count I (Breach of Contract),

supra, pursuant to Fed. R. Civ. P. 8(d)(2).

         45.    Plaintiff and the Class conferred a benefit on Volaris in the form of amounts paid

to Volaris for their airfare.

         46.    Defendant appreciated the benefits of such monies paid by Plaintiff and the Class.




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       47.     Defendant’s acceptance and retention of the aforesaid benefits under the

circumstances alleged herein would be inequitable absent the repayment of such amounts to

Plaintiff and the Class.

       48.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

to be determined at trial.

                                            COUNT III

                                         (Unconscionability)

       49.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 38, supra, as

though fully stated herein.

       50.     Volaris’ refusal to provide refunds and/or charging penalties to Plaintiff and the

Class is unconscionable because, as alleged herein, the flight cancellations at issue were due to its

own actions or acts of God.

       51.     Defendant made deceptive and/or misleading representations regarding the fees

that would have deceived an objectively reasonable person into believing they were legitimate.

       52.     Plaintiff and the members of the Class would not have accepted credits toward

future travel in lieu of refunds and/or paid penalties to rebook had they been fully informed

regarding the true nature of the fees.

       53.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

to be determined at trial.

                                            COUNT IV

(Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS
                                       505/1 et seq.)

       54.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 38, supra, as

though fully stated herein.



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         55.     This Count is brought on behalf of Plaintiff and other members of the Illinois

Subclass.

         56.     At all times material hereto, there was in full force and effect an act commonly

known as the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et

seq. (“ICFA”).

         57.     Section 2 of ICFA prohibits “unfair or deceptive acts or practices, including but not

limited to the use or employment of any deception, fraud, false pretense, false promise,

misrepresentation, or the concealment, suppression or omission of any material fact, with intent

that others rely upon the concealment, suppression or omission of such material fact, or the use of

employment of any practice described in Section 2 of the ‘Uniform Deceptive Trade Practices Act’

[815 ILCS 510/2], approved August 5, 1965, in the conduct of any trade or commerce . . . whether

any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

         58.     At all times material hereto, there was in full force and effect in this State an act

commonly known as the Uniform Deceptive Trade Practices Act (“UDAP”), 815 ILCS 510/2 et

seq., incorporated by reference in Section 2 of ICFA, supra.

         59.     The aforesaid acts and practices of Defendant constitute unfair or deceptive acts or

practices prohibited by Section 2 of ICFA, including but not limited to the use or employment of

deception, fraud, false pretense, false promise, misrepresentation or the concealment, suppression

or omission of material fact, with intent that Plaintiff and the Class rely thereon. See 815 ILCS

505/2.

         60.     The aforesaid acts and practices of Defendant further fall within the practices

prohibited by Section 2 of the Uniform Deceptive Practices Act incorporated by reference in 815

ILCS 505/2, supra.




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       61.     By committing the acts alleged in this Complaint, Defendant misrepresented and/or

omitted material facts regarding its obligation to provide refunds to Plaintiff and the Illinois

Subclass when it canceled their flights. Defendant made these misrepresentations and/or omissions

with the intent that Plaintiff and the Illinois Subclass would rely thereon.

       62.     As a direct and proximate result of the foregoing, Plaintiff and the Illinois Subclass

have sustained economic injury in the amounts they paid for their airfare and/or penalties they

have incurred due to Volaris’ cancellation of their flights.

       63.     As a result of the foregoing, Plaintiff and the Class have been damaged in an amount

to be determined at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of members of the Class, prays for

judgment in their favor and against Defendant and for the following relief:

               A.      Finding that this action satisfies the prerequisites for maintenance as a class

action set forth in Fed. R. Civ. P. 23, certifying the Class defined herein and designating Plaintiff

as representative of the Class and her undersigned counsel as Class counsel;

               B.      Awarding Plaintiff and the Class their damages and the costs of this action

together with reasonable attorneys’ fees as determined by the Court;

               C.      Awarding Plaintiff and the Class all allowable pre- and post-judgment

interest on the foregoing awarded damages;

               D.      Awarding Plaintiff and the Class equitable relief including, inter alia,

disgorgement of Defendant’s ill-gotten gains;

               E.       Granting appropriate injunctive and declaratory relief; and




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              F.      Awarding such other and further available relief and any other relief the

Court deems just and appropriate.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.

Date: April 8, 2020                                     Respectfully submitted,

                                                        SAMANTHA LEVEY

                                              By:        s/ William M. Sweetnam

                                                        William M. Sweetnam
                                                        SWEETNAM LLC
                                                        53 West Jackson Boulevard, Suite 1440
                                                        Chicago, Illinois 60604
                                                        (312) 757-1888
                                                        wms@sweetnamllc.com

                                                        Attorneys for Plaintiff and the Class




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